    Case 20-03107-sgj Doc 16 Filed 10/27/21                Entered 10/27/21 12:44:58             Page 1 of 4




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Counsel for Highland Capital Management, L.P.

                       IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE NORTHERN DISTRICT OF TEXAS
                                   DALLAS DIVISION

    In re:                                                      §
                                                                §   Chapter 11
    HIGHLAND CAPITAL MANAGEMENT, L.P., 1                        §
                                                                §   Case No. 19-34054-sgj11
                                                                §
                                    Reorganized Debtor.
                                                                §
    HIGHLAND CAPITAL MANAGEMENT, L.P.,                          §
                                                                §
                                    Plaintiff,                  §   Adversary Proceeding No.
                                                                §
    v.                                                          §   20-03107-sgj
                                                                §
    PATRICK HAGAMAN DAUGHERTY,                                  §
                                                                §
                                    Defendant.                  §
                                                                §



1
  The last four digits of the Reorganized Debtor’s taxpayer identification number are (6725). The headquarters and
service address for the above-captioned Reorganized Debtor is 100 Crescent Court, Suite 1850, Dallas, TX 75201.


DOCS_NY:44371.2 36027/003
    Case 20-03107-sgj Doc 16 Filed 10/27/21               Entered 10/27/21 12:44:58             Page 2 of 4




                                       NOTICE OF CASE STATUS

        Highland Capital Management, L.P., the reorganized debtor 2 (“Highland” or the “Debtor”,

as may be temporally required) in the above-captioned chapter 11 case (“Bankruptcy Case”) and

plaintiff in the above-captioned adversary proceeding, files this Notice of Case Status in response

to the Clerk of the Court’s request for the same [Docket No. 15] and respectfully states as follows:

        1.       On April 1, 2020, Patrick Daugherty (“Mr. Daugherty”) filed a general unsecured

claim which the Debtor’s claim agent denoted as claim number 67 (“Claim 67”).

        2.       On April 6, 2020, Mr. Daugherty filed a general unsecured proof of claim in the

amount of “[a]t least $37,483,876.62,” which amended and superseded Claim 67 and which the

Debtor’s claims agent denoted as claim number 77 (“Mr. Daugherty’s Claim”).

        3.       On August 31, 2020, the Debtor filed the Debtor’s (I) Objection to Claim No. 77 of

Patrick Hagaman Daugherty and (II) Complaint to Subordinate Claim of Patrick Hagaman

Daugherty [Docket No. 1] (the “Complaint”). 3

        4.       On or about February 2, 2021, during the confirmation hearing on the Debtor’s

proposed Plan, the Debtor reported, among other things, that it had reached an agreement in

principle to fully resolve Mr. Daugherty’s Claim.

        5.       Since that time, the parties have made certain adjustments to the proposed

resolution of Mr. Daugherty’s Claim and have worked to reduce their agreement to a written



2
  On February 22, 2021, the Bankruptcy Court entered the Order (i) Confirming the Fifth Amended Plan of
Reorganization (as Modified) and (ii) Granting Related Relief [Bankr. Docket No. 1943] (the “Confirmation Order”)
which confirmed the Fifth Amended Plan of Reorganization of Highland Capital Management, L.P., as Modified
[Bankr. Docket No. 1808] (the “Plan”). The Plan went Effective (as defined in the Plan) on August 11, 2021, and
Highland is the Reorganized Debtor (as defined in the Plan) since the Effective Date. See Notice of Occurrence of
Effective Date of Confirmed Fifth Amended Plan of Reorganization of Highland Capital Management, L.P. [Bankr.
Docket No. 2700]. All terms used but not defined herein have the meanings given to them in the Plan.
3
 On December 10, 2020, Mr. Daugherty filed proof of claim number 205, which superseded and replaced Mr.
Daugherty’s Claim.



DOCS_NY:44371.2 36027/003
 Case 20-03107-sgj Doc 16 Filed 10/27/21          Entered 10/27/21 12:44:58       Page 3 of 4




document. Highland is in the process of seeking approval of the proposed settlement from the

Claimant Trust Oversight Committee and anticipates that the settlement will be finalized on or

before November 12, 2021. Highland will file a further status report in the event it is unable to

finalize the settlement for any reason.

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DOCS_NY:44371.2 36027/003
 Case 20-03107-sgj Doc 16 Filed 10/27/21   Entered 10/27/21 12:44:58    Page 4 of 4




 Dated: October 27, 2021.          PACHULSKI STANG ZIEHL & JONES LLP

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